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The Honorable Christopher Cooper
Washington, District of Columbia
Via Email to Defense Counsel
Heather Shaner, Esquire
                                                                   January 6, 2024
Re: Character Letter, James Douglas Rahm

Your Honor;

My name is Tom Forkin and I serve as a Professor of Law at ACIT here in New Jersey,
following the active practice of Law for 20 years in both State & Federal Court.

I am writing in regard to the above captioned matter and to follow up on my
conversation with James Rahm, as to a Character Letter. It is my understanding that
James shall appear before Your Honor for sentencing on a misdemeanor charge as to
his attendance at the January 6th Rally in Washington in 2021. Please accept this letter
in that regard and to James' character.

I have known James (JD) for approximately 11 years. My son, who serves as a First
Responder in Richmond, Virginia, is a childhood friend of James & his brothers. James’
mother, Kelly, is a former employee of mine, following her divorce from their estranged
father some 15 years ago. Kelly essentially raised her three sons as a single mother,
James’ being the oldest and assisting her as needed.

This is James’ first time encountering the Justice System. He is a young man of both
Character and Integrity, overcoming adversity and working his way through LaSalle
University in Philadelphia, with a Degree in Business. Today he owns and operates his
own business.

While the events of January 6th 2021 unfortunately escalated by some trouble making
individuals, James was clearly not one of them. That would explain the basis for his
charges being amended to misdemeanors and before Your Honor.
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I would respectfully submit that a probationary term would be appropriate under these
circumstances, in lieu of any consideration of incarceration. James’ attendance at this
rally was nothing more than a curious young man filming a historical event, in exercise
of his First Amendments Right. His entry into the Capital was greeted peacefully by
Capital Police distributing water bottles, holding the door for them. He did not stay long,
committed no acts of violence or malice, returned home to New Jersey to prepare for a
pre planned snowboard trip to Vermont.

The severity of his entering the Capitol did not resonate until his mother informed him
what had happened at their home in Atlantic City on or about February 5th 2021.

At 1130hrs on or about 5th of February, James’ mother contacted me sobbing. The FBI
had conducted a “No Knock” Warrant / Raid at her home 0430. Bashing in her front
door, ripping her and her young sons out of bed, in handcuffs, and having them sit on
the curb in the snow and freezing rain for an hour while they searched the house. His
mother Kelly in nothing more than a T-Shirt, while the media & news stations filmed the
entire event.

After his mothers’ phone call informing him of the warrant, he returned home and
surrendered himself to authorities. Since that time he and his family have been labeled
and stigmatized by many in the community. Frankly, I believe James and his family
have suffered enough.

Thank you in advance for your time and consideration. Please feel free to contact me
directly with any questions or concerns.

Respectfully Submitted
Tom Forkin
Thomas Forkin, JD

Cc: Heather Shaner, Esq.
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